  Case 3:22-cv-00978-RBM-KSC Document 35-1 Filed 10/26/22 PageID.1683 Page 1 of 1
                                                                                                           October 26, 2022


Dear Customer,




The following is the proof-of-delivery for tracking number: 770275083348




Delivery Information:


Status:                        Delivered                                   Delivered To:                 Receptionist/Front Desk

Signed for by:                 A.ANDREW                                    Delivery Location:

Service type:                  FedEx Express Saver

Special Handling:              Deliver Weekday                                                           SALT LAKE CITY, UT,

                                                                           Delivery date:                Oct 26, 2022 09:34

Shipping Information:


Tracking number:                       770275083348                        Ship Date:                       Oct 21, 2022

                                                                           Weight:                          1.0 LB/0.45 KG


Recipient:                                                                 Shipper:

SALT LAKE CITY, UT, US,                                                    SAN DIEGO, CA, US,




                    Signature image is available. In order to view image and detailed information, the shipper or payor account
                                                    number of the shipment must be provided.




Thank you for choosing FedEx
